                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TENNESSEE
                                AT GREENEVILLE




UNITED STATES OF AMERICA                          )
                                                  )
V.                                                )        No. 2:10-CR-87
                                                  )
JOHNNY GROOMS, ET AL.                             )



                        REPORT AND RECOMMENDATION

       After defendant Jonathan Grooms was indicted in this court, he was arrested at his

home by deputies of the Jefferson County Sheriffs Department on September 17, 2010.

Defendant’s cell phone was seized and, at the Jefferson County Jail, officers downloaded text

messages stored in that cell phone. Presumably those text messages are incriminating since

defendant has filed a motion to suppress all evidence of them, claiming that the warrantless

search of the phone was violative of the Fourth Amendment. (Doc. 94).

        This motion has been referred to the United States Magistrate Judge under the

standing orders of this Court and pursuant to 28 U.S.C. § 636(b). An evidentiary hearing was

held on December 28, 2010.

       There is only one disputed fact germane to the motion to suppress. Defendant claims

that, after he was arrested and was escorted by Deputy Laudwick back into his house to

secure it, the deputy placed defendant’s cell phone in defendant’s pocket, saying “you might

need that.” In its response, the United States contends that defendant asked Deputy


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Laudwick that he be allowed to take his phone with him so that he could tell his girlfriend

of his arrest. The parties agreed that which version is true is inconsequential to the

disposition of the motion to suppress; all that matters is that the cell phone was on

defendant’s person when he arrived some time later at the Jefferson County Jail, which was

the “staging area” used by law enforcement agents as they executed the arrest warrants issued

pursuant to this indictment.

       When defendant arrived at the jail, his cell phone was handed to a National Guard

sergeant who had been assigned to assist the Drug Enforcement Administration with the

arrests attendant to this indictment. The sergeant connected defendant’s cell phone to a

computer, and downloaded the contents, including text massages, to a disk.

       The connection of the phone to a computer and the subsequent downloading of the

text messages clearly was a search. Defendant argues that the officers were obliged to obtain

a warrant, which they did not do.

       If this warrantless search was incident to defendant’s arrest, then it was permissible

under the Fourth Amendment, even if the cell phone could be analogized to a “closed

container.” Although there are apparently no Sixth Circuit Court of Appeals’ cases on point,

the Fourth, Fifth, and Seventh Circuits have unequivocally so held. See, United States v.

Murphy, 552 F.3d 405 (4th Cir. 2009); United States v. Finley, 477 F.3d 250 (5th Cir. 2007);

United States v. Ortiz, 84 F.3d 977 (7th Cir. 1996). A district court case from within the

Sixth Circuit is consistent with those cases from the Fourth, Fifth, and Seventh Circuits;

significantly, that case is from this court, and the opinion was authored by District Judge

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Greer. Ajan v. United States, 2009 WL 1421183, at *10 (E.D. Tenn. 2009). Therefore, the

truly dispositive issue regarding defendant’s motion to suppress is whether his cell phone was

searched as an incident to his arrest.

       Defendant argues that the timing and location of the search indicates that the search

was either a “booking” search or an inventory search, neither of which would allow a

warrantless search of the cell phone’s digital contents.

       The United States acknowledged that a search incident to an arrest must be

“substantially contemporaneous” with the arrest and confined to the immediate vicinity of

the arrest, citing Shipley v. California, 395 U.S. 818, 819 (1969). But the United States also

argues that “contemporaneous” is not synonymous with “simultaneous.” At least under the

circumstances described in this case, the court agrees. No less than the United States

Supreme Court has held that a search and seizure that could have been made on the spot at

the time of the defendant’s arrest may legally be conducted later when the defendant arrives

at the detention facility, United States v. Edwards, 415 U.S. 800, 803 (1974).          Deputy

Laudwick easily could have viewed the text messages on defendant’s cell phone while he

and defendant were at defendant’s house at the time of his arrest. That being so, the later

retrieval of the text messages at the sheriff’s office was proper under the authority of

Edwards, supra.

       It is respectfully recommended that defendant’s motion to suppress be denied.1


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         Any objections to this report and recommendation must be filed within fourteen (l4)
days of its service or further appeal will be waived. 28 U.S.C. 636(b)(1).

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      Respectfully submitted,



                                               s/ Dennis H. Inman
                                           United States Magistrate Judge




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